         Case 5:25-cv-00441-JKP               Document 12           Filed 05/29/25       Page 1 of 1   FILED
                                                                                                     May 29, 2025
                                                                                                CLERK, U.S. DISTRICT COURT
                                                                                                WESTERN DISTRICT OF TEXAS

                              IN THE UNITED STATES DISTRICT COURT                                            KKN
                                                                                             BY: ________________________________
                               FOR THE WESTERN DISTRICT OF TEXAS                                                     DEPUTY
                                      SAN ANTONIO DIVISION

IN THE MATTER OF:                                    )        5:25-cv-00141-JKP-ESC
                                                     )        5:25-cv-00252-FB-HJB
MATTHEW ANDREW GARCES                                )        5:25-cv-00256-FB-RBF
                                                     )        5:25-cv-00339-JKP-HJB
                                                     )        5:25-cv-00388-FB-HJB
                                                     )        5:25-cv-00441-JKP-HJB
                                                     )        5:25-cv-00539-OLG-ESC
                                                     )        5:25-cv-00578-FB
                                                     )        5:25-cv-00579-XR
                                                     )        5:25-cv-00580-OLG

                                        CEASE AND DESIST ORDER

        Before the Court is the conduct of Mr. Matthew Andrew Garces concerning his interactions with the

personnel of the District Clerk’s Office, San Antonio Division.

        On May 27, 2025, Mr. Matthew Andrew Garces created havoc in the District Clerk’s Office, which

prevented personnel from attending to their professional responsibilities.

        Accordingly, Mr. Matthew Andrew Garces is ordered to cease and desist any further emails or telephone

calls to the United States District Clerk’s Office, San Antonio Division, and will not physically go beyond the

Court Security Officers’ station and will not enter the District Clerk’s Office.

        Mr. Matthew Andrew Garces is allowed to file whatever pleadings he wishes to file by United States

Postal Service mail or by physically bringing the pleadings to the United States Courthouse to the Court Security

Officers’ station. Someone from the Clerk’s Office will come to that location to receive the matters to be filed.

        Should Mr. Matthew Andrew Garces violate this order, he will be ordered to appear and show cause

why he should not be held in contempt of this Court. If he is held in contempt, he should expect to either have

monetary or jail time sanctions imposed or both.

        It is so ORDERED.

        SIGNED this 29th day of May, 2025.


                                                   _________________________________________________
                                                    FRED BIERY
                                                    UNITED STATES DISTRICT JUDGE
